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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

WESTERN DIVISION
MITCHELL W. KIRKSEY )
: )
Plaintiff, ) No. 19 CV 503802
vs. )
) Judge Iain Johnston
SERGEANT KRAMER, )
) Magistrate Judge Lisa A. Jensen
Defendant. )

CERTIFICATE OF SERVICE

The undersigned attorney, George M. Hoffman, hereby certifies that copies of
Defendant’s First Set of Interrogatories to Plaintiff and Defendant’s First Request
for Production of Documents to Plaintiff were served on

Mitchell Kirksey R52062
Jacksonville Correctional Center
2268 East Morton Avenue
Jacksonville, IL 62650

by depositing copies in the U.S. Mail located at 2200 N. Seminary Ave., Woodstock,
IL 60098, postage prepaid, on January 12, 2021.

By: /s/ George M. Hoffman
One of his Attorneys

Patrick D. Kenneally

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